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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   No. Mag. S-08-206 KJM
12             Plaintiff,             )
                                      )   STIPULATION AND ORDER
13        v.                          )   CONTINUING PRELIMINARY HEARING
                                      )
14   BRANDON COLEMAN et al.,          )
                                      )
15             Defendants.            )   Hon. Kimberly J. Mueller
                                      )
16
17        The parties request that the preliminary hearing set for
18   July 1, 2008, be continued to July 8, 2008.        The parties agree
19   that good cause exists for the requested seven-day continuance,
20   taking into account the public interest in the prompt disposition
21   of criminal cases.    Fed R. Crim. P. 5.1(d).      This brief
22   continuance will give the government time to seek an indictment
23   against the defendant, and will allow the parties and the Court
24   to avoid an unnecessary and time-consuming preliminary hearing.
25   The government’s attorney is currently on the East Coast,
26   returning July 1, and will not be able to prepare and present an
27   indictment in this case until July 3, 2008.        The defendant is not
28   in custody.

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 1        For the reasons stated above, the parties ask the Court to
 2   grant the requested continuance.
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 4                                               Respectfully Submitted,
 5                                               McGREGOR W. SCOTT
                                                 United States Attorney
 6
 7   Dated: June 24, 2008                  By:/s/ Michael M. Beckwith
                                              MICHAEL M. BECKWITH
 8                                            Assistant U.S. Attorney
 9
     Dated: June 24, 2008                  By:/s/ Caro Marks
10                                            CARO MARKS
                                              Attorney for defendant
11
12
13
14                                       ORDER
15        Good cause having been shown, the preliminary hearing
16   currently set for July 1, 2008, is continued to July 8, 2008.
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18   IT IS SO ORDERED.
19   Dated:    June 25, 2008.
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